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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,

      v.
                                                         Criminal No. 03-331-11     (CKK)
 WALDEMAR LORENZANA-LIMA,

    Defendant.


                                            ORDER

       This matter came before the Court on April 27, 2015, for a mental competency hearing of

Defendant Waldemar Lorenzana-Lima. At the commencement of the hearing, defense counsel

informed the Court that they had explained to Mr. Lorenzana-Lima the purpose of the proceeding

and that they had informed him of his right to testify, to present evidence, to subpoena witnesses

on his behalf, and to confront and cross-examine witnessed pursuant to 18 U.S.C. §§ 4241(c) and

4247(d).    During the hearing, counsel for Defendant Waldemar Lorenzana-Lima requested

admission of five exhibits which the Court admitted into evidence without objection from the

government: Report of Dr. Elizabeth Teegarden of the District of Columbia Department of

Behavioral Health dated June 9, 2014 (Exhibit 1); Report of Dr. Teresa Grant of the District of

Columbia Department of Behavioral Health dated February 18, 2015 (Exhibit 2); Forensic

Evaluation of Dr. Manuel E. Guiterrez of Federal Correctional Institution in Butner, North

Carolina dated April 9, 2015 (Exhibit 3); an excerpt of Defendant’s medical records from the

Central Detention Facility in the District of Columbia dated March 17, 2015 (Exhibit 4); and

Affidavit of Dr. Cynthia A. Munro of the Johns Hopkins School of Medicine dated April 24, 2015

(Exhibit 5). The government did not present any additional evidence. Based on the evidence
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presented during the hearing, the Court FINDS by a preponderance of the evidence that the

defendant is presently suffering from a mental disease or defect rendering him mentally

incompetent to the extent that he is unable to understand the nature and consequences of the

proceedings against him or to assist properly in his defense pursuant to 18 U.S.C. § 4241(d).

       Presently before the Court is the government’s [555] Motion to Proceed Under 18 U.S.C.

§ 4244, and Defendant’s [556] Opposition thereto. The parties dispute whether 18 U.S.C. §§ 4241

and 4246, or 18 U.S.C. § 4244 govern the ultimate disposition in this matter based on the posture

of the case. Specifically, Mr. Lorenzana-Lima argues that if it is determined that there is a

substantial probability that in the foreseeable future he will not attain the capacity to permit the

proceedings to go forward pursuant to 18 U.S.C. § 4241(d), 1 then the Court should proceed to

evaluate Mr. Lorenzana-Lima pursuant to 18 U.S.C. § 4246. Pursuant to 18 U.S.C. § 4246(a), the

defendant must be evaluated to determine whether he is presently suffering from a mental disease

or defect as a result of which his release would create a substantial risk of bodily injury to another

person or serious damage to property of another. In contrast, the government requests that the

Court make a determination pursuant to 18 U.S.C. § 4244 which permits the Court to enter a

provisional sentence of imprisonment if the Court, after a hearing, finds by a preponderance of the

evidence that the defendant is presently suffering from a mental disease or defect and that he

should, in lieu of being sentenced to imprisonment, be committed to a suitable facility for care or




       1
          The government did not consent to the Court making a finding on this specific issue
during the mental competency hearing based on the indication of Dr. Gutierrez in his April 9, 2015,
Forensic Evaluation that “it is highly unlikely that the defendant would experience significant
improvement in his mental state.” Specifically, the government noted the forensic evaluation
indicated: “[W]hile there is evidence of decline in memory and learning and at least one other
cognitive domain, this was not established through detailed history of serial neuropsychological
testing.” As such, the Court indicated that it would enter as part of this order that the doctor opine
with regard to this issue.
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treatment. The Court indicated that the parties may submit additional briefing by no later than

Monday, May 18, 2015, focusing on the following two issues: (1) whether the disposition under

§§ 4241 and 4246 is properly applied to a defendant who is in a post-conviction posture but

awaiting sentencing; and (2) whether a defendant who has been deemed incompetent to proceed

to sentencing can be provisionally sentenced pursuant to § 4244.

       The Court further determined that Mr. Lorenzana-Lima shall be committed to the custody

of the Attorney General for a reasonable period of time, not to exceed four months, as is necessary

to determine whether there is a substantial probability that in the foreseeable future he will attain

the capacity to permit the proceedings to go forward pursuant to 18 U.S.C. § 4241(d). Further, to

the extent that the doctor finds that there is not a substantial probability that Mr. Lorenzana-Lima

will regain his competency in the foreseeable future, the Court further orders that the evaluator

prepare a report including the evaluator’s opinions as to the following issues: (1) whether Mr.

Lorenzana-Lima is presently suffering from a mental disease or defect as a result of which his

release would create a substantial risk of bodily injury to another person or serious damage to

property of another pursuant to 18 U.S.C. §§ 4246(b) and 4247(c); and, in the alternative, (2)

whether Mr. Lorenzana-Lima is presently suffering from a mental disease or defect and that he

should, in lieu of being sentenced to imprisonment, be committed to a suitable facility for care or

treatment pursuant to 18 U.S.C. §§ 4244(b) and 4247(c). The parties did not object to this course

of action.

       Accordingly, with the consent of the parties, it is this 27th day of April, 2015, hereby

       ORDERED that Mr. Waldemar Lorenzana-Lima is committed to the custody of the

Attorney General who is ordered to FORTHWITH transport Mr. Lorenzana-Lima to the Federal

Correctional Institution at Butner, North Carolina, for a reasonable period of time, not to exceed
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four months, as is necessary to determine whether there is a substantial probability that in the

foreseeable future he will attain the capacity to permit the proceedings to go forward pursuant to

18 U.S.C. § 4241(d); and it is

       FURTHER ORDERED that the Federal Correctional Institution at Butner, North

Carolina is directed to examine Mr. Lorenzana-Lima to determine whether there is a substantial

probability that in the foreseeable future he will attain the capacity to permit the proceedings,

specifically his sentencing, to go forward pursuant to 18 U.S.C. § 4241(d); and it is

       FURTHER ORDERED that during his examination, the Federal Correctional Institution

at Butner, North Carolina is directed to administer serial neuropsychological testing in order to

verify Defendant’s prior diagnosis as set forth in the Forensic Evaluation completed by Dr. Manuel

E. Guiterrez, dated April 9, 2015; and it is further

       FURTHER ORDERED that if it is determined that the defendant’s mental condition has

not so improved as to permit the proceedings to go forward, the Federal Correctional Institution at

Butner, North Carolina is directed to prepare psychiatric or psychological report(s) pursuant to 18

U.S.C. §§ 4246(b) and 4247(c), and 18 U.S.C. §§ 4244(b) and 4247(c), addressing the following

issues: (1) whether Mr. Lorenzana-Lima is presently suffering from a mental disease or defect as

a result of which his release would create a substantial risk of bodily injury to another person or

serious damage to property of another pursuant to 18 U.S.C. §§ 4246(b) and 4247(c); and, in the

alternative, (2) whether Mr. Lorenzana-Lima is presently suffering from a mental disease or defect

and that he should, in lieu of being sentenced to imprisonment, be committed to a suitable facility

for care or treatment pursuant to 18 U.S.C. §§ 4244(b) and 4247(c). The Federal Correctional

Institution at Butner, North Carolina shall SUBMIT such report(s) to this Court by August 27,

2015, or upon completion of the evaluation, whichever is sooner; and it is
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       FURTHER ORDERED that to the extent that the government seeks to supplement its

[555] Motion to Proceed Under 18 U.S.C. § 4244, and the Defendant seeks to supplement his [556]

Opposition to the motion, the parties are directed to file any supplemental briefs by no later than

Monday, May 18, 2015, focusing on the following two issues: (1) whether the disposition under

§§ 4241 and 4246 is properly applied to a defendant who is in a post-conviction posture but

awaiting sentencing; and (2) whether a defendant who has been deemed incompetent to proceed

to sentencing can be provisionally sentenced pursuant to § 4244; and it is

       FURTHER ORDERED that Defendant’s [554] Emergency Motion for Continued

Detention at Butner FCI is DENIED AS MOOT.

       SO ORDERED.



Date: April 27, 2015____________                         /s/
                                                    COLLEEN KOLLAR-KOTELLY
                                                    UNITED STATES DISTRICT JUDGE

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United States Marshal Service
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